         Case: 1:14-cv-03509 Document #: 22 Filed: 05/17/16 Page 1 of 2 PageID #:145
                                 UNITED STATES DISTRICT COURT
                                     NORTHERN DISTRICT OF ILLINOIS
                                      219 SOUTH DEARBORN STREET
                                         CHICAGO, ILLINOIS 60604
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                                                                                     Date
Attorney Signature
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Case: 1:14-cv-03509 Document #: 22 Filed: 05/17/16 Page 2 of 2 PageID #:146


 1:16-cv-01963   Andersen v. City of Chicago et al
 1:11-cv-06142   Awalt v. Correctional Healthcare Companies, Inc., et al
 1:15-cv-09070   Better Government Association v. Federal Bureau of Investigation
 1:12-cv-04069   Birchmeier et al v. Caribbean Cruise Line, Inc. et al
 1:11-cv-08098   Blaum. et al v. Triad Isotopes, Inc.
 1:14-cv-02945   Chatman v. Roberts et al
 1:13-cv-04052   United States of America v. Lifewatch Services, Inc.
 1:12-cv-07372   ComplementSoft, LLC v. SAS Institute Inc.
 1:13-cv-01068   Dobbey et al v. Weilding et al
 1:99-cv-03945   Doe, et al v. Cook Co, et al
 1:12-cv-08740   Fox v. Admiral Insurance Company
 1:15-cv-05990   Green v. Barnes et al
 1:13-cv-00989   Hicks v. Clark et al
 1:15-cv-09050   Holliman v. Thompson et al
 1:16-cv-01970   Hood v. City of Chicago et al
 1:13-cv-02569   Hunter v. Sood et al
 1:14-cv-03509   Jackson v. Dart
 3:15-cv-50064   Johnson et al v. City of Rockford et al
 1:13-cv-03963   Kluppelberg v. Burge et al
 1:11-cv-02605   Koh et al v. Graf et al
 1:13-cv-01653   Kuri v. Szwedo et al
 1:15-cv-09250   Prison Legal News v. County of Kane et al
 1:12-cv-02146   United States of America et al v. Mobile Doctors USA, L.L.C. et al
 1:15-cv-02106   Mauldin v. Obaisi et al
 1:11-cv-03482   United States of America et al v. IBM Corporation et al.
 1:15-cv-08884   Mnyofu v. Board of Education of Rich Township High School Distr
 1:12-cv-05481   Munive v. Town of Cicero et al
 1:15-cv-08550   Nextpoint, Inc. v. Hewlett Packard Company
 1:14-cv-07398   Piercy v. Wilhelmi et al
 1:12-cv-09184   Richardson v. City of Chicago et al
 1:12-cv-04428   Rivera v. Guevara et al
 1:13-cv-00221   Sanders v. City of Chicago Heights et al
 1:16-cv-03444   Saving et al v. Gulli et al
 1:14-cv-00737   Taylor v. City Of Chicago et al
 1:15-cv-05190   Taylor v. Magarvie et al
 1:16-cv-01978   Walker v. The City of Chicago et al
 1:16-cv-02557   Whirl v. Pienta et al
